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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

EDWARD SMITH,

      Plaintiff,

v.                                                     Case No: 8:13-cv-3070-T-35TGW

DIVERSIFIED CONSULTANTS, INC.,

      Defendant.
                                         /

                      ORDER OF DISMISSAL WITH PREJUDICE

      Upon consideration of the parties’ Stipulation of Dismissal with Prejudice, (Dkt. 20)

and pursuant to Fed.R.Civ. P. 41, it is hereby

      ORDERED that this case is dismissed with prejudice. Each party shall bear its

own attorneys’ fees and costs associated with this matter. The Clerk is directed to

terminate any pending motions and CLOSE this case.

      DONE and ORDERED in Tampa, Florida this 22nd day of September, 2014.




Copies furnished to:
Counsel of Record
Any Unrepresented Party
